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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

In re:                                               )      Chapter 11
                                                     )
BOY SCOUTS OF AMERICA AND                            )      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,                                   )
                                                     )      Jointly Administered
                                       1
                              Debtors .              )


                                  NOTICE OF SERVICE

         I, David E. Wilks, hereby certify that on this 9th day of February, 2021, I

caused a true and correct copy of (I) AVA Law Group’s Responses and Objections

to Century’s First Request for Production of Documents; (II) AVA Law Group’s

Responses and Objections to Century’s First Set of Interrogatories; (III) AVA Law

Group’s Responses and Objections to Century’s First Set of Requests for Admissions

were served in the manner indicated below.

         Email:
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         800 N. West Street, Third Floor
         Wilmington, DE 19801
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1
 The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Dated: February 9, 2021               WILKS LAW, LLC


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                                        2
